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             UNITED STATES COURT OF APPEALS FOR THE ELEVENTH CIRCUIT
                              Appearance of Counsel Form
Attorneys who nish to participate in an appeal must be properly admitted either to the bar of this court or for the particular
proceeding pursuant to I Ith Cir. R. 46-1, et seq. An attorney not yet properly admitted must file an appropriate application. In
addition, all attorney (except murt-appointed counsel) who wish to participate in an appeal must file an appearance fonn within
fourteen (14) days after notice is mailed by the clerk, or upon filing a motion or brief, whichever occurs first. Application forms and
appearance forms are a, ailable at www.ca I l.uscou11s.gov.
                                                        Please Type or Print

Court of Appeals No.     21-13232
Music Specialist, Inc. & Sherman Nealy                          vs.
                                                                         Warner Chappel Music, Inc., et al.

The Clerk will enter my appearance for these named parties or amici curiae (you must list all parties or amici; use extra
pages if necessary):

s
Mu ic Specialis t, Inc. and Sherman Nealy


These individuals/entities are:

                                    appellant(s)               D petitioner(s)                 D intervenor(s)
                                    appe llee(s)               D respondent(s)                 D amicus curiae
□         The following related or similar cases are pending in this court:



□         Check here if you are lead counsel.

I hereby certify that I am an active member in good standing of the state bar or the bar of the highest court of the state
(including the District of Columbia) named below, and that my license to practice law in the named state is not currently
lapsed for any reason, including but not limited to retirement, placement in inactive status, failure to pay bar membership
fees or failure to complete continuing education requirements. I understand that I am required to notify the Clerk of this
court within 14 days of any changes in the status of my state bar memberships. See 11th Cir. R. 46-7.


                  State Bar:   Florida                                                      625485
                                                                         State Bar No.: --------------


Signature ls/Chris Kleppi��
Name (type or print): Chris��                           Phone: 954-424-1933
                   The
Firm/Govt. Office: _     Kleppin Law
                      _____      ____Firm ____ E-mai:·1 ____
                                                        ckleppin@gkemploymentlaw.com
                                                                     ______
                  8751 West Broward Boulevard, Suite 105
St�t Add�: -------------------- fu:                                                      954-474-7405
City:   Plantation                                                                 State:   Florida           Zip:   33324
                                                                                                                        Revised 12/21
